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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

     Konrad R. Krebs, Esq.
     CLYDE & CO US LLP                                              Order Filed on February 15, 2022
     340 Mt. Kemble Ave., Suite 300                                 by Clerk
     Morristown, NJ 07960                                           U.S. Bankruptcy Court
                                                                    District of New Jersey
     Telephone: (973) 210-6705
     E-mail: konrad.krebs@clydeco.us

     -and-

     Clinton E. Cameron, Esq. (pro hac vice)
     CLYDE AND CO US LLP
     55 West Monroe Street
     Suite 3000
     Chicago, IL 60603
     Telephone: (312) 635-6938
     E-mail: clinton.cameron@clydeco.us

     Attorneys for The Continental Insurance
     Company, as successor in interest to Harbor
     Insurance Company and London Guarantee
     and Accident Company of New York

     In Re:

     LTL MANAGEMENT LLC,                               Chapter 11

                       Debtor.                         Case No. 21-30589 (MBK)


                                 ORDER FOR ADMISSION PRO HAC VICE

              The relief set forth on the following page is hereby ORDERED.



DATED: February 15, 2022




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         This matter having been brought before the Court on application for an Order For
 Admission Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, out-
 of-state attorney, and considered this matter pursuant to Fed.R.Civ.Proc. 78, D.N.J. L. Civ. R.101.1
 and D.N.J. LBR 9010-1, and good cause having been shown; it is

        ORDERED that Clinton E. Cameron, Esq. be permitted to appear pro hac vice; provided
 that pursuant to D.N.J. L.Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed
 promptly by a member of the bar of this Court upon whom all notices, orders and pleadings may
 be served, and who shall promptly notify the out-of-state attorney of their receipt. Only an attorney
 at law of this Court may file papers, enter appearances for parties, sign stipulations, or sign and
 receive payments on judgments, decrees or orders, and it is further

         ORDERED that the applicant shall arrange with the New Jersey Lawyers’ Fund for Client
 Protection for payment of the annual fee, for this year and for any year in which the out-of-state
 attorney continues to represent a client in a matter pending in this Court in accordance with New
 Jersey Court Rule 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20)
 days of the date of the entry of this Order, and it is further

         ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice
 admission to the District Court for the District of New Jersey shall also be payable within twenty
 (20) days of entry of this Order. Payment in the form of a check must be payable to “Clerk, USDC”
 and forwarded to the Clerk of the United States Bankruptcy Court for the District of New Jersey
 at the following address, for forwarding by the Clerk to the District Court:

                                 United States Bankruptcy Court
                                      District of New Jersey
                              Martin Luther King, Jr. Federal Building
                                         50 Walnut Street
                                        Newark, NJ 07102
                               Attention: Pro Hac Vice Admissions

        and it is further ORDERED that the applicant shall be bound by the Local Rules of the
 United States District Court for the District of New Jersey and the Local Rules of Bankruptcy
 Procedure for the District of New Jersey; and it is further

       ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New Jersey
 Lawyers’ Fund for Client Protection within 5 days of its date of entry.




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